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                           IN THE UNITED STATES DISTRICT COURT

                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    UNITED STATES OF AMERICA                              CRIMINAL NO.

                   v                                     DATE   FILED:      October 12.2021

    CONRAD BENEDETTO                                     VIOLATIONS:

                                                         26 U.S.C. S 7206(1) (filing a false tax
                                                         return - 3 counts)
                                                         26 U.S.C. $ 7203 (failure to file a tax
                                                         return - 3 counts)
                                                         26 U.S.C. S 7202 (failure to collect or pay
                                                         employment tax - 3 counts)


                                             INDICTMENT

                                             COUNT ONE

    THE GRAND JURY CHARGES THAT:

                  At all times relevant to this indictment:

                   1.     Defendant CONRAD BENEDETTO was an attorney who resided in

    Philadelphia and was licensed to practice in the Commonwealth of Pennsylvania and the State of

    New Jersey.

                  2.      Defendant CONRAD BENEDETTO owned and operated a law practice in

    Philadelphia, Pennsylvania.

                  3.      Defendant CONRAD BENEDETTO was the only signatory on the law

    firm bank accounts and was the only person who could authorize the payment of the employment

    taxes.

                  4.      The Internal Revenue Service ("IRS") was an agency within the United

    States Treasury Department. The IRS was responsible for, among other things, collecting income
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    and payroll taxes on wages earned by individuals.

                   5.      The Internal Revenue Code ("Code") required every individual who

    received gross income in excess of the exemption amount established by Congress to make and

    file a tax return which reported the income received by that individual. Examples of the types of

    gross income for which a return had to be made and filed included: (a) compensation   for

    services, including fees, commissions, fringe benefits and similar items; and (b) gross income

    derived from a business enterprise.

                   6.     As the sole owner and operator of his law practice, defendant CONRAD

    BENEDETTO had a duty to timely and accurately file and report all gross receipts earned and

    expenses incurred by the law practice on Schedule C of his personal tax returns (IRS Form

    r040).

                   7.     Defendant CONRAD BENEDETTO failed to truthfully report the law

    practice's gross receipts on IRS Form 1040 for tax year 2013, by underreporting gross receipts in

    the approximate amount of $225,800.40.

                   8.     Defendant CONRAD BENEDETTO failed to truthfully report the law

    practice's gross receipts on IRS Form 1040 for year tax 2014, by underreporting gross receipts in

    the approximate amount of $51,881.95 and overstating expenses in the approximate amount      of

    $t72,382.5t.

                   9.     Defendant CONRAD BENEDETTO failed to truthfully report the law

    practice's gross receipts on IRS Form 1040 for tax year 2015, by underreporting gross receipts in

    the approximate amount of $742,671.80 and understating expenses in the approximate amount         of

    $278,048.35.


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                   10.         Defendant CONRAD BENEDETTO's underreporting of gross receipts on

    IRS Form 1040 for each of the calendar years from 2013 through2}l5, and overstating expenses

    in year 2014 resulted in a tax loss of approximately $403,923.

                   I   1   .   On or about October 13,2016, in the Eastern District of Pennsylvania,

    defendant

                                           CONRAD BENEDETTO

    willfully made and subscribed a United      States tax return, Form 1040, for the calendar year 2013,

    which was verified by a written declaration that it was made under penalty of perjury and filed

    with the IRS, which return defendant CONRAD BENEDETTO did not believe to be true and

    correct as to every material matter, in that the return reported gross receipts of $1,339,976, when

    in fact defendant BENEDETTO knew he had gross receipts totaling approximately $1,565,776.

                   In violation of Title 26, United States Code, Section 7206(l).




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                                                COUNT TWO


    THE GRAND JURY FURTHER CHARGES THAT:

                     At all times relevant to this indictment:

                     1.      Paragraphs 1 through l0 of Count One are incorporated here.

                     2.      On or about January 17,2017, in the Eastern District of Pennsylvania,

    defendant

                                          CONRAD BENEDETTO,

    willfully   made and subscribed a United States tax return, Form 1040, for the calendar year 2014,

    which was verified by a written declaration that it was made under penalty of perjury and filed

    with the IRS, which return defendant CONRAD BENEDETTO did not believe to be true and

    correct as to every material matter, in that the return reported gross receipts of $2,142,870 when

    in fact defendant BENEDETTO knew he had gross receipts totaling approximately $2,194,752.

                     In violation of Title 26,United States Code, Section 7206(l).




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                                           COUNT THRE,E

THE GRAND JURY FURTHER CHARGES THAT:

                 At all times relevant to this indictment:

                 I   .   Paragraphs   I through   10 of Count One are incorporated here.

                 2.      On or about January 19,2017, in the Eastern District of Pennsylvania,

defendant

                                      CONRAD BENEDETTO,

willfully   made and subscribed a United States tax return, Form 1040, for the calendar year 2015,

which was verified by a written declaration that it was made under penalty of perjury and filed

with the IRS, which return defendant CONRAD BENEDETTO did not believe to be true and

correct as to every material matter, in that the return reported gross receipts of $2,510,706 when

in fact defendant BENEDETTO knew he had gross receipts totaling approximately $3,253,378.

                 In violation of Title 26,United States Code, Section 7206(l).




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                                 COUNTS FOUR THROUGH SIX

THE GRAND JURY FURTHER CHARGES THAT:

                 At all times relevant to this indictment:

                 1   .   Paragraphs   I through   10 of Count One are incorporated here.

                 2.      For each of tax years 2016,2017 and20l8, defendant CONRAD

BENEDETTO earned legal fees of more than $1,000,000. Between20l6 and 2018, inclusive,

defendant BENEDETTO had over $8,000,000 in gross receipts.

                 3.      During the calendar years listed below, in the Eastern District   of

Pennsylvania, defendant

                                      CONRAD BENEDETTO,

a resident   of Philadelphia, Pennsylvania, made and received gross income substantially in excess

of the minimum filing requirements. By reason of such gross income he was required by law,

following the close of each calendar year and on or before the filing due date set forth below, to

make an income tax return to the Internal Revenue Service Center, at Philadelphia, Pennsylvania,

or other proper officer of the United States, stating specifically the items of his gross income and

any deductions and credits to which he was entitled; that knowing this, he willfully failed to




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make an income tax return to the Internal Revenue Service Center, or to any other proper officer

of the United States.

 COUNT                   YEAR                          FILING DUE DATE

 4                       20t6                          April18,2017

 5                       20t7                          April 17,2018

 6                       20t8                          April 15,2019



               All in violation of Title 26,United   States Code, Section 7203.




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                                         COUNT SEVEN

THE GRAND JURY FURTHER CHARGES THAT:

               At all times relevant to this indictment:

               1.     Paragraphs 1 through 10 of Count One are incorporated here.

               2.     Defendant CONRAD BENEDTTO withheld taxes from his employees'

paychecks, including federal income taxes, Medicare and social security taxes (often referred to

as Federal lnsurance Contribution   Act or "FICA" taxes or as "payroll taxes").

               3.     Employers were required to make deposits of the payroll taxes to the IRS

on a periodic basis, in this case, semi-weekly. Employers were required to file, following the

end of each calendar quarter, an Employer's Quarterly Federal Income Tax Return (Form 941),

setting forth the total amount of wages and other compensation subject to withholding, the total

amount of income tax withheld, the total amount of social security and Medicare taxes due to the

IRS.

               4.     Throughout the calendar year 20lT,defendant CONRAD BENEDETTO

withheld tax payments from his employees' paychecks. However, beginning in approximately

April, 2017, defendant BENEDETTO made no payments to the Internal Revenue Service.

               5.     For the second, third and fourth quarters of 2017, defendant CONRAD

BENEDETTO failed to file the Forms 941 with the IRS, and to pay over the taxes to the IRS.

               6.      For each ofthe second, third and fourth quarters of2017, defendant

CONRAD BENEDETTO failed to pay over to the IRS approximately $18,986 in payroll taxes.




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Thus, defendant BENEDETTO failed to timely report and pay over to the IRS a combined total

of approximately $56,904.

               7.     On or about July 31, 2017, in the Eastern District of Pennsylvarria,

defendant

                                    CONRAD BENEDETTO,

a person required under   Title 26 of the United States Code to collect, account for, and pay over

taxes due and owing in regards to total taxable wages of his employees, willfully failed to

truthfully account for and pay over to the IRS all of the federal income taxes and FICA taxes that

should have been withheld and were due and owing to the United States of America for the

quarter ending June 30, 2017.

               In violation of Title 26,United States Code, Section 7202.




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                                         COUNT EIGHT

THE GRAND JURY FURTHER CHARGES THAT:

               At all times relevant to this indictment:

               1.     Paragraphs   I through   10   ofCount One and paragraphs I through 6 of

Count Seven are incorporated here.

               2.     On or about October 31,2017, in the Eastern District of Pennsylvania,

defendant

                                    CONRAD BENEDETTO,

a person required under   Title26 of the United   States Code to collect, account   for, and pay over

taxes due and owing in regards to total taxable wages of his employees,    willfully failed to

truthfully account for and pay over to the IRS all of the federal income taxes and FICA taxes that

should have been withheld and were due and owing to the United States of America for the

quarter ending September 30,2017.

               In violation of Title 26, United States Code, Section 7202.




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                                           COUNT NINE

THE GRAND JURY FURTHER CHARGES THAT:

                At all times relevant to this indictment:

                1.     Paragraphs 1 through 10 ofCount One and paragraphs 1 through 6           of

Count Seven are incorporated here.

                2.     On or about January 31,2018, in the Eastern District of Pennsylvania,

defendant

                                    CONRAD BENEDETTO,

a person required under   Title 26 of the United States Code to collect, account for, and pay over

taxes due and owing in regards to total taxable wages of his employees,   willfully failed to

truthfully account for and pay over to the IRS all of the federal income taxes and FICA taxes that

should have been withheld and were due and owing to the United States of America for the

quarter ending December 3I,2017.

                In violation of Title 26, United States Code, Section 7202.

                                                       A TRUE BILL:




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JENNIFER ARBITTIER WILLIAMS
ACTING UNITED STATES ATTORNEY



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 No

 UNITED STATES DISTRICT COURT

                         Eastern District of Pennsylvania


                                    Criminal Division


               THE LINITED STATES OF AMEzuCA
                                                    vs.


                                    CONRAD BENEDETTO

                                      INDICTMENT

          26 U.S.C. $ 7206(l) (filing a false tax return - 3 counts)
         26 U.S.C. $ 7203 (failure to file a tax returns - 3 counts)
   26 U.S.C. S 7202 (failure to collect or pay employment tax - 3 counts)




            Filed in open court   this                          day,
                 of                                       20-
                                            Clerk
                                  Bail, $
